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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:04CR419
                                              )
              Plaintiff,                      )
                                              )                MEMORANDUM
              vs.                             )                 AND ORDER
                                              )
SEBASTIAN BURGOS-MARTINEZ,                    )
                                              )
              Defendant.                      )

       This matter is before the Court on the Defendant’s motion for extension of time to

file a notice of appeal (Filing No. 74).

       On April 4, 2005, the Defendant was sentenced to 120 months and 5 years

supervised release. The Judgment was filed on April 5, 2005. (Filing No. 67.) The last

day to timely file a notice of appeal was April 22. Fed. R. App. 4(b)(1)(A) & 26(a)(2).

Federal Rule of Appellate Procedure 4(b)(4) provides that upon a showing of “excusable

neglect” or “good cause,” this Court may “before or after the time has expired . . . extend

the time to file a notice of appeal for a period not to exceed 30 days from the expiration of

the tie otherwise prescribed.”

       Defense counsel stated in the motion that the Defendant did not fully understand

his right to appeal because of the confusion and traumatic experience of being sentenced

to 120 months, arguing that the reason constitutes “good cause.”

       IT IS ORDERED:

       1.     The Defendant’s motion for extension of time to file a notice of appeal (Filing

No. 74) is granted; and
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    2.    Any notice of appeal on behalf of the Defendant must be filed within ten (10)

          days of the date of this order.

    DATED this 27th day of April, 2005.

                                             BY THE COURT:


                                             s/Laurie Smith Camp
                                             Laurie Smith Camp
                                             United States District Judge
